

HSBC Bank USA, N.A. v Ji Youn Min (2025 NY Slip Op 02269)





HSBC Bank USA, N.A. v Ji Youn Min


2025 NY Slip Op 02269


Decided on April 17, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 17, 2025

Before: Manzanet-Daniels, J.P., Kennedy, Kapnick, Scarpulla, Higgitt, JJ. 


Index No. 850245/19|Appeal No. 4129|Case No. 2024-04657|

[*1]HSBC Bank USA, National Association, as Trustee for Holders of Deutschealt-A Securities Inc. etc., Plaintiff-Respondent,
vJi Youn Min, Defendant-Appellant, Sung Jin Min, et al., Defendants.


Law Firm of Kim, Choi &amp; Kim, P.C., Bayside (Dong Sung Kim of counsel), for appellant.
Davidson Fink, LLP, Rochester (Richard Franco of counsel), for respondent.



Order, Supreme Court, New York County (Francis A. Kahn III, J.), entered July 10, 2024, which, inter alia, upon renewal, granted plaintiff's motion for summary judgment and dismissed defendant's affirmative defenses, unanimously reversed, on the law, without costs, and the motion denied.
Contrary to plaintiff's contention, even if plaintiff served a sufficiently compliant notice in June 2014 in advance of a prior 2015 action that was dismissed, there is no dispute that this 90-day notice did not contain all of the mandatory language and information set forth in the version of RPAPL 1304(1) in effect at the time plaintiff commenced this action in 2019 (see Bank of Am., N.A. v Kessler, 39 NY3d 317, 325 [2023]). Thus, plaintiff did not establish that it strictly complied with RPAPL 1304(1) (see HSBC Bank USA v Rice, 155 AD3d 443, 443 [1st Dept 2017]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 17, 2025








